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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
JOSEPHINE TONG, )
Plaintift
Vs. 5 4:03-CV-1234-Y
DIRECT TRADING CORP., et al.
Defendants.

PLAINTIFE’S MOTION TO STRIKE DEFENDANTS’
EXPERT JOHN STEIN AND MOTION FOR SANCTIONS

Plaintiff, JOSEPHINE TONG, by and through her attorney, John S. Burke, moves this
Honorable Court pursuant to the Federal Rules of Civil Procedure to Strike Defendants’ Expert
Witness and compel sanctions against defendants and their attorneys for noncompliance with the
Court’s Amended Scheduling Order, or in the alternative, give plaintiff leave to reinstate Phillip A.
Feigin as a rebuttal expert, and in support thereof, states as follows:
1. On September 7, 2004, the Court entered its Amended Scheduling Order pursuant to
Fed. R. Civ. P. 16(b). Pursuant to the Order, all disclosures related to expert
witnesses required by Fed. R. Civ. P. 26(a)(2)(A) and (B) were to be made by each
party no later than 4:30 p.m. on September 15, 2004.

2. Pursuant to said Order, the parties were to cease all discovery activity by 4:30 p.m.
on December 30, 2004.

3, On or about December 21, 2004, defendants filed a Supplemental Disclosure of
 

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Expert Witnesses to disclose expert John Stein to testify in support of defendants’
claim that “plaintiff was required to have either a Series 66 or 63 license to receive
commissions based on the sales or purchases of stocks and options by Direct Trading
Corporation customers.” See Defendants’ Supplemental Disclosure of Expert
Witnesses (“Supplemental Disclosure”), attached hereto and incorporated herein in
Appendix at p. 1, 2.

4, On December 29, 2004, plaintiff filed a Supplemental Disclosure of Expert
Witnesses to disclose rebuttal expert Phillip A. Feigin to testify that “Plaintiff was
not required to have either a Series 66 or 63 license to receive commissions based on
the sales or purchases of stocks and options by Direct Trading Corporation
customers.” See Plaintiff's Supplemental Disclosure of Expert Witnesses
(“Supplemental Disclosure”), attached hereto and incorporated herein in Appendix
at p. 6, 7.

5. Rule 16(f) of the Federal Rules of Civil Procedure provides that, if a party or his
attorney fails to obey a scheduling or pretrial order, the Court may issue an order
prohibiting that party from introducing designated matters into evidence or striking
pleadings or parts thereof. See Fed. R. Civ. P. 16(f), 37(b)(2) (B) & (C).

6. Rule 16(f) of the Federal Rules of Civil Procedure further provides that, “in lieu of
or in addition to any other sanctions, the judge shall require the party or the attorney
representing the party or both to pay the reasonable expenses incurred because of any
noncompliance with this rule, including attorney’s fees, unless the judge finds that

the noncompliance was substantially justified or that other circumstances make an
 

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award of expenses unjust.” Fed. R. Civ. P. 16(f)

7. Plaintiff's rebuttal expert, Phillip A. Feigin, was stricken by the Court’s Order dated
September 19, 2005, as being untimely. See Court’s Order Granting Defendants’
Motion to Strike Plaintiff's Expert Witness, dated Sept. 19, 2005.

8. In said Order, the Court stated, “If plaintiff wishes to strike defendants’ late
designation, she must so move; should she wish to designate an expert out of time,
that requires leave of Court.” See Court’s Order Granting Defendants’ Motion to
Strike Plaintiff's Expert Witness, dated Sept. 19, 2005.

WHEREFORE, plaintiff JOSEPHINE TONG, respectfully requests that this Court grant

Plaintiffs Motion to Strike Defendants’ Expert and sanction the defendants and their attorneys for
their violation of the Court’s Amended Scheduling Order, or in the alternative, give plaintiff leave

to reinstate Phillip A. Feigin as a rebuttal expert.

Respectfully Submitted,

7 of Plaintiff’s Attorneys

 
   

John S. Burke

Higgins & Burke, P.C.

7 South Second Avenue
St. Charles, Illinois 60174
(630) 762-9081

Bill E. Bowers

Bowers & Searcy, P.C.

1320 South University Drive, Suite 825
Fort Worth, TX 76107

(817)332-9640
 

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CERTIFICATE OF CONFERENCE
Pursuant to Rule 7.1 of the Local Rules of the United States District Court of the Northern
District of Texas, counsel for Plaintiff conferred by telephone with Christen C. Paquin, counsel

for Defendants, regarding the substance of this Motion. Counsel for Defendants opposes this

motion. LL f c XY A

John S. Burke
CERTIFICATE OF [

This is to certify that a true copy of the foregoing document has been forwarded to the
following counsel of record by regular U.S. mail on this 11" day of January, 2006.

Kenneth R. Stein

Christen C. Paquin

Matthews, Stein, Shiels, Pearce,
Knott, Eden & Davis, L.L.P.
8313 LBJ Freeway, Suite 700
Dallas, TX 75251

SSE

John 8. Burke
sey for Josephine Tong

 

John S. Burke

Higgins & Burke, P. C.
78. Second Avenue
St. Charles, IL 60174
(630)762-908 1

Bill E. Bowers

Bowers & Searcy

1320 S. University Drive, Suite 825
Fort Worth, Texas 76107
(817-332-9640
